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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 FLORENCE DIVISION

 Compassion Church Florence, Inc.,                  )   Civil Action No.
                                                    )
                                       Plaintiff,   )
                                                    )               Jury Trial Requested
                 vs.                                )
                                                    )           NOTICE OF REMOVAL
 Brotherhood Mutual Insurance Company,              )
                                                    )
                                    Defendant.      )
                                                    )

        Brotherhood Mutual Insurance Company (“BMIC”) hereby removes the above captioned

matter previously pending in the South Carolina Court of Common Pleas, Florence County, C/A

No. 21-CP-21-01345, to the United States District Court for the District of South Carolina,

Florence Division, pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, 28 U.S.C. § 121(3), and Local

Civil Rule 3.01. This removal is made without waiving, and expressly reserving, the right to assert

any and all defenses, including the jurisdiction of the court over the subject matter and the

defendants.

        In support of the notice of removal, BMIC states the following:

        1.      This matter is removable pursuant to 28 U.S.C. § 1441 as a “civil action brought in

a State court of which the district courts of the United States have original jurisdiction . . . .”

        2.      On or about June 18, 2021, Plaintiff filed an action in the Court of Common Pleas,

County of Florence, South Carolina, captioned Compassion Church Florence, Inc., v. Brotherhood

Mutual Insurance Services, LLC, C/A No. 21-CP-21-01345.
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       3.      Brotherhood Mutual Insurance Services, LLC (“BMIS”) accepted service of the

Summons and Complaint on July 14, 2021. A copy of the process and pleading served is included

in the documents attached hereto as Exhibit A.

       4.      BMIS was improperly named as the defendant in this case. As further stated below,

the proper defendant should be Brotherhood Mutual Insurance Company (“BMIC”), which is a

separate entity from BMIS.

       5.      Plaintiff’s counsel filed an Amended Complaint on August 10, 2021, substituting

BMIC in place of BMIS as the named defendant. Therefore, the caption of the state court action is

now Compassion Church Florence, Inc., v. Brotherhood Mutual Insurance Company, C/A No. 21-

CP-21-01345. A copy of the Amended Complaint is attached hereto as Exhibit B.

       6.      On information and belief, Plaintiff is a corporation organized under the laws of the

State of South Carolina, with its principal location in Florence County.

       7.      BMIC is a foreign corporation organized under the laws of the State of Indiana with

its principal place of business in the State of Indiana.

       8.      Accordingly, there is complete diversity of citizenship between Plaintiff and

Defendant.

       9.      Because of the nature of Plaintiff’s alleged damages and Plaintiff’s claim for

punitive damages, the amount in controversy with respect to Plaintiff’s claims exceeds the sum or

value of $75,000.00. Plaintiff’s counsel has asserted that Plaintiff was damaged by the failure of

BMIC to pay a claim for hail and wind damage to a commercial building (a church building) as

well as being damaged because Plaintiff lost coverage under its policy of insurance. It is undisputed

that the amount in controversy exceeds $75,000.00.




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       10.     Further, where actual and punitive damages are alleged, the “[plaintiff’s] claim for

punitive damages alone makes it virtually impossible to say that the claim is for less than the

jurisdictional amount.” Woodward v. Newcourt Commercial Fin. Corp., 60 F. Supp 2d 530, 532

(D.S.C. 1999). Considering each type of damages alleged by a plaintiff, jurisdiction is proper so

long as there is a reasonable probability that the plaintiff could recover in excess of $75,000 if the

plaintiff prevailed on all of its claims and requested damages. Mattison v. Wal-Mart Stores, Inc.,

No. 6:10-CV-01739, 2011 WL 494395, at *3 (D.S.C. Feb. 4, 2011). Therefore, the amount in

controversy with respect to Plaintiff’s claims exceeds the sum or value of $75,000.00.

       11.     This is an action over which this Court has original subject matter jurisdiction

pursuant to 28 U.S.C. § 1332(a)(1), because the matter in controversy exceeds the sum or value of

$75,000.00 exclusive of interest and costs and is between citizens of different states. BMIC is

accordingly entitled to remove this case pursuant to 28 U.S.C. §1441(a) & (b).

       12.     By reason of the amount in controversy and complete diversity of citizenship

between Plaintiff and Defendant, this action is within the original jurisdiction of this Court

pursuant to 28 U.S.C. § 1332(a).

       13.     Accordingly, this action is removable from the Court of Common Pleas, County of

Florence, State of South Carolina, to this Court pursuant to 28 U.S.C. §§ 1332(a) and 1441(a) &

(b).

       14.     This Notice of Removal is being filed pursuant to provisions of 28 U.S.C. § 1441,

within thirty (30) days after service on Defendant, and this case is therefore, removable pursuant

to 28 U.S.C. § 1446(a) & (b).

       15.     BMIC files with this Notice of Removal a copy of all pleadings and process it has

received in the matter.



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        16.     A true and correct copy of this Notice of Removal will be filed with the Clerk of

Court for the Court of Common Pleas for Florence County, South Carolina, as provided under 28

U.S.C. § 1446(d).

        WHEREFORE, BMIC prays the action captioned Compassion Church Florence, Inc., v.

Brotherhood Mutual Insurance Company, C/A No. 21-CP-21-01345, be removed from the Court

of Common Pleas, Florence County, South Carolina to the United States District Court for the

District of South Carolina. Plaintiff requested a jury trial in this matter.



                                        Respectfully submitted,

                                        NELSON MULLINS RILEY & SCARBOROUGH LLP

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August 13, 2021




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